
211 Or. 358 (1957)
315 P.2d 557
COMPLAINT AS TO THE CONDUCT OF GEORGE M. SENNATT
Supreme Court of Oregon.
Submitted August 28, 1957.
Suspended for 2 years September 25, 1957.
PER CURIAM.
George M. Sennatt, duly licensed as an attorney to practice before the courts of this state, was found guilty of unprofessional conduct by the trial committee of the Oregon State Bar. The transcript of these proceedings, pursuant to ORS 9.540, has been duly filed for more than 60 days and the accused has not requested a hearing before this court.
The Board of Governors of the Oregon State Bar, after a review of the case, approved the findings of the trial committee and have recommended to this court that "* * * George M. Sennatt be suspended from the practice of law in the State of Oregon for a period of three years and thereafter until such time as the Supreme Court of the State of Oregon shall find that the Accused is in all respects qualified to accept the obligations and faithfully perform the duties of an attorney in the State of Oregon."
*359 The trial committee found that on several occasions Mr. Sennatt accepted fees from clients to perform certain professional duties, and, after receiving payment of the fees, failed to make any effort towards the discharge of those duties, and it can be inferred that his failure in the discharge of his duties as to some of his clients was not due merely to lack of diligence, but rather to an apparent intention of not proceeding at all on behalf of these clients. Apparently full restitution of those moneys has now been made.
Our review of the record convinces us that the findings of the trial committee, as approved by the Board of Governors, are amply sustained. The record discloses that during the time of Mr. Sennatt's dereliction of duty he was suffering under a severe nervous strain and had resorted to the excessive use of alcohol. This evidence, we assume, was offered in mitigation of or as an excuse for his actions. While we find no difficulty in determining that during this time he was lacking in mental stability, we are of the opinion that such a showing is of little avail in a proceeding which is brought not for the purpose of punishing the offender, but rather to insure professional conduct consistent with the high ideals and obligations of the calling.
In view of the fact that considerable time has passed between the filing of the accusation and the rendition of this opinion, during which time Mr. Sennatt has refrained from the practice of law, it is ordered that he be suspended for a period of two years and thereafter until such time as this court is satisfied he is again able to accept the obligations and duties of an attorney in this state.
Justice McALLISTER did not participate.
